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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
_________________________________________
                                          )
RUSSELL LOPES,                            )
                                          )
      Plaintiff,                          )
                                          )
             v.                           )
                                          ) Case No. 20-cv-03849 (APM)
WASHINGTON METROPOLITAN                   )
TRANSIT AUTHORITY,                        )
                                          )
      Defendant.                          )
_________________________________________ )

                                            ORDER

       For the reasons set forth in the court’s Memorandum Opinion, ECF No. 33, Defendant’s

Motion for Summary Judgment, ECF No. 29, is granted in full.

       This is a final, appealable order.




Dated: August 3, 2023                                   Amit P. Mehta
                                                 United States District Court Judge
